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                                 This Opinion is not a
                                Precedent of the TTAB

 Hearing: September 12, 2023                              Mailed: December 8, 2023


                  UNITED STATES PATENT AND TRADEMARK OFFICE
                                    _____

                        Trademark Trial and Appeal Board
                                     _____

                          Abercrombie & Fitch Trading Co.
                                         v.
                              Srinivasa Rao Gubbala
                                       _____

                              Opposition No. 91255288
                                       _____

Susan M. Kayser of K&L Gates LLP
   for Abercrombie & Fitch Trading Co.

Lillian Khosravi of the Law Office of Lillian Khosravi,
    for Srinivasa Rao Gubbala.
                                        _____

Before Zervas, Goodman and Cohen,
    Administrative Trademark Judges.

Opinion by Cohen, Administrative Trademark Judge:

   Srinivasa Rao Gubbala (“Applicant”) seeks to register the design mark




on the Principal Register for the following goods in International Class 25:
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                  belts; belts for clothing; belts made of leather; belts of
                  textile; business wear, namely, suits, jackets, trousers,
                  blazers, blouses, shirts, skirts, dresses and footwear;
                  clothing layettes; clothing shields, namely, pads applied to
                  the underarms of shirts, blouses and sweaters; clothing
                  wraps; clothing, namely, base layers; clothing, namely,
                  maternity bands; clothing, namely, wrap-arounds; gloves
                  as clothing; hats; hiking jackets; hoodies; hoods; jackets for
                  man, women and kids; shirts; shirts and short-sleeved
                  shirts; shirts for infants, babies, toddlers and children;
                  shirts for suits; shoes; sports jackets; sports bras; sports
                  caps and hats; sports jerseys and breeches for sports; sports
                  over uniforms; sports shoes; sports singlets; sports vests;
                  top hats; underarm clothing shields; undergarments;
                  undergarments, namely, waspies; woolly hats; yoga shirts;
                  athletic shirts; baby layettes for clothing; camp shirts;
                  collared shirts; denim jackets; dress shirts; fingerless
                  gloves as clothing; graphic t-shirts; head wraps; knit
                  jackets; leather jackets; leather shirts; long-sleeved shirts;
                  night shirts; open-necked shirts; polo shirts; shoulder
                  wraps; shoulder wraps for clothing; sport shirts; sports
                  shirts with short sleeves; t-shirts; tee-shirts; woven shirts.1

        Abercrombie & Fitch Trading Co. (“Opposer”) opposes registration of Applicant’s

    mark, alleging likelihood of confusion under Section 2(d) of the Trademark Act, 15

    U.S.C. §1052(d), and dilution under Section 43(c) of the Trademark Act, 15 U.S.C.

    §1025(c), pleading prior common law rights and ownership of Principal Register

    registrations for bird design marks namely:2




    1 Application Serial No. 88555046 (filed July 31, 2019), claiming a bona fide intent to use the

    mark in commerce under Section 1(b) of the Trademark Act, 15 U.S.C. § 1051(b).
     The application describes the mark as consisting of a black and white bird with outspread
    wings, with an orange beak and a blue eye, holding a black fish in its mouth. The colors black,
    white and orange and blue are claimed as a feature of the mark.
    2 Opposer’s pleaded registrations are Registration Nos. 3745498, 4022932, 3745497, 3855891,

    4091084, 3588412, 4384092 and 3592454.


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        MARK                                       GOODS AND SERVICES

                          On-line retail store services featuring personal care products, clothing, jewelry,
                          and bags; Retail stores featuring personal care products, clothing, jewelry, and
                          bags in Class 25




 Reg. No. 35924543

                          retail clothing store services in Class 35



 Reg. No. 43840924

                          On-line retail store services featuring personal care products, clothing, jewelry,
                          and bags; Retail store services featuring personal care products, clothing, jewelry,
                          and bags in Class 35

 Reg. No. 35884125

                          Belts; Bottoms; Coats; Footwear; Jackets; Sleepwear; Swimwear; Tops;
                          Undergarments in Class 25


 Reg. No. 40910846

                          Gloves; Headwear; Scarves in Class 25




 Reg. No. 38558917



    3 Registered March 17, 2009. The registration describes the mark as consisting of a bird

    design appearing in the color proprietary burgundy-red outlined in a shade of white. The
    colors proprietary burgundy-red and a shade of white are claimed as a feature of the mark.
    4 Registered August 13, 2013. The registration describes the mark as consisting of a bird

    design silhouette. Color is not claimed as a feature of the mark.
    5Registered March 10, 2009. The registration describes the mark as consisting of a
    miscellaneous design. Color is not claimed as a feature of the mark.
    6 Registered January 24, 2012. The registration describes the mark as consisting of a bird

    design silhouette. Color is not claimed as a feature of the mark.
    7 Registered October 5, 2010. The registration describes the mark as a bird design silhouette.

    Color is not claimed as a feature of the mark.


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         MARK                                     GOODS AND SERVICES

                          Clothing, namely, blouses, boxer shorts, camisoles, caps, coats, dresses, footwear,
                          hats, jackets, jeans, knit shirts, knit tops, loungewear, pajamas, pants, scarves,
                          shirts, shorts, skirts, sleepwear, sweat pants, sweat shirts, sweaters, swim wear,
                          t-shirts, tank tops, undershirts, underwear and vests, all sold exclusively through
 Reg. No. 37454988        applicant's Hollister stores and Hollister website in Class 25

                          clothing, namely, beachwear, belts, boxer shorts, jackets, jeans, knit shirts, knit
                          tops, pants, shirts, shorts, skirts, sweat shirts, sweaters, swim wear, t-shirts and
                          tank tops sold exclusively in Hollister Co. stores and Hollister Co. online web-
                          sites in Class 25
 Reg. No. 40229329

                          Clothing, namely, blouses, boxer shorts, camisoles, caps, coats, dresses, footwear,
                          hats, jackets, jeans, knit shirts, knit tops, loungewear, pajamas, pants, scarves,
                          shirts, shorts, skirts, sleepwear, sweat pants, sweat shirts, sweaters, swim wear,
                          t-shirts, tank tops, undershirts, underwear and vests, all sold exclusively through
 Reg. No. 374549710       applicant's Hollister stores and Hollister website in Class 25



        Applicant, in its Answer,11 denied the salient allegations of the Notice of

    Opposition and asserts five affirmative defenses. Applicant did not pursue its

    affirmative defenses at trial and thus, they are deemed waived. Peterson v. Awshucks

    SC, LLC, 2020 USPQ2d 11526, at *2 (TTAB 2020) (party “did not present any

    evidence or argument with respect to these asserted defenses at trial, so they are

    deemed waived”); Harry Winston, Inc. v. Bruce Winston Gem Corp., 111 USPQ2d


    8 Registered February 2, 2010. The registration describes the mark as a miscellaneous design

    with a contrasting border shown in white. Color is not claimed as a feature of the mark.
    9 Registered September 6, 2011. The registration describes the mark as consisting of a bird

    design silhouette. Color is not claimed as a feature of the mark.
    10 Registered February 2, 2010. The registration describes the marks as consisting of a design

    appearing in the color proprietary burgundy-red outlined in a shade of white. The colors
    proprietary burgundy-red and a shade of white are claimed as a feature of the mark.
    11 4 TTABVUE. Citations in this opinion to the briefs refer to TTABVUE, the Board’s online

    docketing system. Turdin v. Tribolite, Ltd., 109 USPQ2d 1473, 1476 n.6 (TTAB 2014).
    Specifically, the number preceding TTABVUE corresponds to the docket entry number, and
    any numbers following TTABVUE refer to the page(s) of the docket entry where the cited
    materials appear.


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    1419, 1422 (TTAB 2014) (“As applicant did not pursue the affirmative defenses of

    failure to state a claim and unclean hands, either in its brief or by motion, those

    defenses are waived.”); TPI Holdings, Inc. v. TrailerTrader.com LLC, 126 USPQ2d

    1409, 1413 n.28 (TTAB 2018) (“Respondent also asserted ‘estoppel, acquiescence and

    waiver,’ but does not argue any of these in its brief. They are therefore waived.”).

        The case is fully briefed and on September 12, 2023, the parties appeared before

    us for an oral hearing.

      I.    Joint Stipulation and the Record

        On April 15, 2023, the parties submitted a “Joint Stipulation of Fact”12 which

    provides in part that the parties “jointly stipulate and agree to the admission and use

    at trial of the following facts to be entered into the record and admitted into

    evidence”:13

            •   true and correct printouts from the TRADEMARK STATUS & DOCUMENT
                RETRIEVAL (TSDR) database of Opposer’s Registration Nos. 3745498;
                4022932; 3745497; 3855891; 4091084; 3533412; 4384092; and 3592454
                appended to the stipulation;14

            •   Opposer used each of its pleaded marks in commerce and registered its
                pleaded marks prior to the filing of Applicant’s Mark;15

            •   “Opposer’s U.S. trademark Registration Nos. 3,745,498; 4,022,932;
                3,855,891; 4,091,084; 3,588,412; 4,384,092 are not limited to any particular
                color”;16



    12 The stipulation is hereby approved.

    13 14 TTABVUE.

    14 Id. at 3-6 at ¶¶ 2-9.

    15 Id. at 6-7 at ¶¶ 10-11.

    16 Id. at 7 at ¶ 12.




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            •   “Applicant’s Trademark Application depicts a gannet, which is a type of
                seabird, with outspread wings”;17

            •   “Opposer’s Marks depict a bird with outspread wings”;18

            •   That both parties’ marks consist of “a bird with outspread wings viewed
                from the side with the bird’s head and beak facing to the left and the bird’s
                outspread wings shown above the bird’s body”;19

            •   Applicant’s Application and Opposer’s trademark Registration No.
                3745498 both identify “blouses”, “caps”, “hats”, “jackets”, “dresses”,
                “footwear” in the description of goods; Applicant’s Application and
                Opposer’s trademark Registration No. 4022932 both identify “belts”,
                “jackets”, “shirts”, “sweaters”, “t-shirts” in the description of goods;
                Applicant’s Application and Opposer’s trademark Registration No.
                3745497 both identify “caps”, “blouses”, “jackets”, “shirts”, “skirts”,
                “dresses”, “footwear”, “undergarments”, “sweaters”, “t-shirts”, “hats”,
                “vests” in the description of goods; Applicant’s Application and Opposer’s
                trademark Registration No. 3855891 both identify “gloves” and headwear
                in the description of goods; Applicant’s Application and Opposer’s
                trademark Registration No. 4091084 both identify “belts”, “jackets”,
                “footwear”, “undergarments”, and tops as clothing in the description of
                goods;20

            •   “Applicant has not yet started sales in USA … promotes its brand on its
                social media accounts … intends to sell their goods through e-commerce
                platforms including Amazon, Walmart’s online platform”;21 and

            •   Applicant’s Application and Opposer’s Registration Nos. 3855891;
                4091084; 3588412; 4384092; 3592454 do not contain any restrictions on
                channels of trade or classes of consumers.22


    17 Id. at 7 at ¶ 13. “Applicant’s Trademark Application” is not defined in the parties’
    stipulation. However, the stipulation references an attached exhibit 2 which contains
    Opposer’s Request for Admission No. 7 and reads “Admit Applicant’s trademark application
    (Serial No. 88/555,046) includes a gannet, which is a type of seabird, with outspread wings.”
    Based on this information, it is clear the parties are referring to the opposed application.
    18 Id. at ¶ 14.

    19 Id. at ¶¶ 15-16.

    20 Id. at 7-8 at ¶¶ 17-21.

    21 Id. at 8 at ¶ 22.

    22 Id. at ¶¶ 24-25.




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       The parties have also stipulated into the record Opposer’s eight pleaded

    registrations, including Registration No. 4091084 (Opposer’s ’084 Registration).

    Because the mark of Opposer’s ’084 Registration is closer to Applicant’s mark than

    Opposer’s registrations which claim color as a feature or which contain a restriction

    on the channels of trade, we concentrate our analysis on the likelihood of confusion

    between Applicant’s mark and the mark of Opposer’s ’084 Registration. See, e.g., N.

    Face Apparel Corp. v. Sanyang Indus. Co., 116 USPQ2d 1217, 1225 (TTAB 2015)

    (citing In re Max Cap. Grp. Ltd., 93 USPQ2d 1243, 1245 (TTAB 2010)). If we find

    confusion likely between Applicant’s mark and the mark of Opposer’s ’084

    Registration, we need not consider Opposer’s likelihood of confusion claim regarding

    Applicant’s mark and Opposer’s other marks. If we find no likelihood of confusion

    between Applicant’s mark and the mark of Opposer’s ’084 Registration, there would

    be no confusion between Applicant’s mark and Opposer’s remaining marks. In re Max

    Cap., 93 USPQ2d at 1245.

       The evidentiary record also includes, in addition to the pleadings, the involved

    application file (which is part of the record pursuant to Trademark Rule 2.122(b), 37

    C.F.R. § 2.122(b)), and:

       Opposer’s evidence:

       1. Notice of Reliance on webpages which (i) Opposer asserts identify clothing
          bearing Opposer’s bird designs worn by celebrities, and clothing worn in
          televisions shows and movies; (ii) show the readership of articles and
          viewership of television shows and movies; (iii) relate to the social media
          following of a third-party retailer; and (iv) show media and third-party
          coverage of Opposer’s bird designs;23

    23 15 TTABVUE.




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         2. Testimony declaration of J.J. Kramer, Opposer’s Group Vice President &
            Associate General Counsel Legal – Intellectual Property, and exhibits;24 and

         3. Rebuttal Notice of Reliance on printed publications consisting of YouTube
            webpages.25

         Applicant’s evidence:

         1. Notice of Reliance on printed publications which includes webpages which
            Applicant asserts shows the fame of its mark and differences in the parties’
            marks;26 and

         2. Testimony declaration of Applicant, Srinivasa Rao Gubbala.27

         Opposer sought to strike exhibits 1-7 and 12 appended to Applicant’s Notice of

    Reliance as well as exhibit 5 appended to Mr. Gubbala’s testimony28 which the Board

    denied29 and thus, we consider this evidence and accord whatever probative value the

    evidence merits.30 See Luxco, Inc. v. Consejo Regulador del Tequila, A.C., 121




    24 16 TTABVUE.

    25 25 TTABVUE.

    26 18 TTABVUE.

    27 19 TTABVUE 2.

    28 20 TTABVUE.

    29 24 TTABVUE.

    30 The Board is capable of assessing the proper evidentiary weight to be accorded the
    testimony and evidence, taking into account the imperfections surrounding the admissibility
    of such testimony and evidence. As necessary and appropriate, we will point out any
    limitations in the testimony or otherwise note that we cannot rely on the testimony and
    evidence in the manner sought. See, e.g., Spiritline Cruises LLC v. Tour Mgmt. Serv., Inc.,
    2020 USPQ2d 48324, at *4 (TTAB 2020) (the Board generally does not strike testimony taken
    in accordance with the applicable rules on the basis of substantive objections but considers
    its probative value at final hearing); Milwaukee Elec. Tool Corp. v. Freud Am., Inc., 2019
    USPQ2d 460354, at *2-3 (TTAB 2019) (overruling objections based on relevance, unfair
    prejudice, or misleading nature, noting that Board is capable of weighing the relevance and
    strength or weakness of testimony and evidence, including any inherent limitations),
    complaint filed, No. 20-cv-109 (M.D.N.C. Feb. 3, 2020).


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    USPQ2d 1477, 1479 (TTAB 2017), appeal dismissed per stipulation, No. 17-00345

    (E.D. Va. August 24, 2017); U.S. Playing Card Co. v. Harbro, LLC, 81 USPQ2d 1537,

    1540 (TTAB 2006). There are no other objections to the evidence.

    II.      Entitlement to a Statutory Cause of Action

       Entitlement to a statutory cause of action is an element of the plaintiff’s case in

    every inter partes case. See Corcamore, LLC v. SFM, LLC, 978 F.3d 1298, 2020

    USPQ2d 11277 (Fed. Cir. 2020), cert. denied, 141 S. Ct. 2671 (2021); Australian

    Therapeutic Supplies Pty. Ltd. v. Naked TM, LLC, 965 F.3d 1370, 2020 USPQ2d

    10837 (Fed. Cir. 2020), cert. denied, 142 S. Ct. 82 (2021); Empresa Cubana Del Tabaco

    v. Gen. Cigar Co., 753 F.3d 1270, 111 USPQ2d 1058, 1062 (Fed. Cir. 2014). To

    establish entitlement to a statutory cause of action, a plaintiff must demonstrate:

    (i) an interest falling within the zone of interests protected by the statute, and (ii) a

    reasonable belief in damage proximately caused by the registration of the mark.

    Corcamore, 2020 USPQ2d 11277, at *4; see also Empresa Cubana, 111 USPQ2d at

    1062; Ritchie v. Simpson, 170 F.3d 1092, 50 USPQ2d 1023, 1025 (Fed. Cir. 1999);

    Spanishtown Enters., Inc. v. Transcend Res., Inc., 2020 USPQ2d 11388, at *1 (TTAB

    2020).

       Even though Applicant has stipulated to Opposer’s entitlement to oppose

    registration of Applicant’s mark, Applicant disputes Opposer’s entitlement.31 In view

    of the stipulation, and TSDR printouts of Opposer’s pleaded registrations which

    demonstrate that they are valid, subsisting and owned by Opposer, we find that


    31 29 TTABVUE 10.




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    Opposer has an entitlement to pursue a statutory cause of action. See, e.g., Shenzhen

    IVPS Tech. Co. v. Fancy Pants Prods., LLC, 2022 USPQ2d 1035, at *13-14 (TTAB

    2022) (valid and subsisting pleaded registration establishes opposer’s direct

    commercial interest in the proceeding and its belief in damage) (citing Cunningham

    v. Laser Golf Corp., 222 F.3d 943, 55 USPQ2d 1842, 1844 (Fed. Cir. 2000)).

   III.   Priority

       Because Opposer’s ’084 Registration is of record and there is no pending

    counterclaim to cancel the registration, priority is not at issue with respect to the

    marks and goods and services covered by the registration. See King Candy Co. v.

    Eunice King’s Kitchen, Inc., 496 F.2d 1400, 182 USPQ 108, 110 (CCPA 1974); Penguin

    Books Ltd. v. Eberhard, 48 USPQ2d 1280, 1286 (TTAB 1998). Further, the parties

    have stipulated that Opposer has used each of its pleaded marks in commerce and

    registered its marks prior to the filing of Applicant’s mark.32

   IV.    Likelihood of Confusion

       We now consider Opposer’s claim of likelihood of confusion under Section 2(d) of

    the Trademark Act. “Not all DuPont factors are relevant in each case[.]” Stratus

    Networks, Inc. v. UBTA-UBET Commc’ns Inc., 955 F.3d 994, 2020 USPQ2d 10341, *3

    (Fed. Cir. 2020). Our determination of Opposer’s claim of likelihood of confusion is

    based on an analysis of all of the facts in evidence that are relevant to the factors

    bearing on the issue of likelihood of confusion. In re E. I. du Pont de Nemours & Co.,




    32 14 TTABVUE 6-7 at ¶¶ 10-11.




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    476 F.2d 1357, 177 USPQ 563, 567 (CCPA 1973) (“DuPont”); see also In re Majestic

    Distilling Co., 315 F.3d 1311, 65 USPQ2d 1201, 1203 (Fed. Cir. 2003).

          A. The Goods, Channels of Trade, Classes of Consumers and
             Conditions of Sale

       We consider first the DuPont factors regarding the “similarity or dissimilarity and

    nature of the goods or services as described in an application or registration,” the

    “similarity or dissimilarity of established, likely-to-continue trade channels,” and the

    conditions under which and buyers to whom sales are made, i.e., “impulse” versus

    careful, sophisticated purchasing. DuPont, 177 USPQ at 567. We make our

    determinations for these factors based on the goods as they are identified in the

    application and Opposer’s ’084 Registration. See Stone Lion Cap. Partners, LP v. Lion

    Cap. LLP, 746 F.3d 1317, 110 USPQ2d 1157, 1161 (Fed. Cir. 2014); In re Dixie Rests.

    Inc., 105 F.3d 1405, 41 USPQ2d 1531, 1534 (Fed. Cir. 1997).

       The parties stipulated that Applicant’s Application and Opposer’s ’084

    Registration both identify “‘belts’, ‘jackets’, ‘footwear’, ‘undergarments’, and tops as

    clothing in the description of goods.”33 Likelihood of confusion will be found as to the

    entire class if there is a likelihood of confusion with respect to any item in the

    identification of goods for that class. Tuxedo Monopoly, Inc. v. General Mills Fun Grp.,

    648 F.2d 1335, 209 USPQ 986, 988 (CCPA 1981).

       In addition, given that the parties’ goods, are in part identical and the lack of

    limitation with respect to trade channels or classes of consumers in the identifications



    33 14 TTABVUE 8 at ¶ 21.




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    of goods in Applicant’s Application and Opposer’s ’084 Registration, we may, and do,

    presume that the channels of trade and classes of purchasers for these goods are the

    same. See Hewlett-Packard co. v. Packard Press, Inc., 281 F.3d 1261, 62 USPQ2d 1001

    (Fed. Cir. 2002) (“absent restrictions in the [registrations], goods and services are

    presumed to travel in the same channels of trade to the same class of purchasers.”);

    In re Smith and Mehaffey, 31 USPQ2d 1531, 1532 (TTAB 1994) (“Because the goods

    are legally identical, they must be presumed to travel in the same channels of trade,

    and be sold to the same class of purchasers.”). We also find that the purchasers of the

    parties’ goods are members of the general public. See, e.g., In re Thor Tech, Inc., 90

    USPQ2d 1634, 1638 (TTAB 2009) (“We have no authority to read any restrictions or

    limitations into the registrant’s description of goods.”).

        Notwithstanding its stipulation, Applicant distinguishes its goods by arguing that

    Opposer does “not focus on sportswear, instead focusing on casual fashion and

    accessories, which differs [from A]pplicant’s future products which will focus on

    sportswear.”34 Applicant further argues that Opposer’s goods are “sold through their

    own website and physical stores. Opposer’s trademark registrations are specifically

    for online retail shops in class 35 or they indicate that the goods they are registered

    for within class 25 are specifically for good[s] that are sold within the retail or online

    retail stores of Opposer.”35 However, we must base our decision on the identification

    of goods in the pleaded registration and subject application which includes all goods



    34 29 TTABVUE 14.

    35 Id. at 15.




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    of the type identified, without limitation as to their nature or price. Levi Strauss &

    Co. v. Abercrombie & Fitch Trading Co., 719 F.3d 1367, 107 USPQ2d 1167,

    1173 (Fed. Cir. 2013). Applicant’s arguments ignore that Opposer’s ’084 Registration

    is not restricted by channels of trade or classes of consumers, and also ignores the

    parties’ stipulation.36

       Applicant argues that the parties’ purchasers differ because it intends to sell

    “inexpensive goods” whereas “Opposer’s goods are sold at a wide range of price points,

    from low-cost to expensive ... The largest target markets of consumers of Opposer’s

    product are trendy teenagers.”37 These arguments are an admission that both parties

    offer for sale inexpensive goods. Further, as noted, the parties’ respective

    identifications of goods do not contain any trade channel or purchaser limitation, and

    Opposer’s identification does not restrict sales of Opposer’s goods to teenagers, and

    we do not read such limitations into the identifications of goods. See Squirtco v. Tomy

    Corp., 697 F.2d 1038, 216 USPQ 937, 940 (Fed. Cir. 1983) (“There is no specific

    limitation and nothing in the inherent nature of Squirtco’s mark or goods that

    restricts the usage of SQUIRT for balloons to promotion of soft drinks. The Board,

    thus, improperly read limitations into the registration.”).

       Therefore, both parties’ consumers must be deemed to encompass the general

    purchasing public, including teenagers who purchase Opposer’s clothing items. The

    Wet Seal, Inc. v. FD Mgmt., Inc., 82 USPQ2d 1629, 1640 (TTAB 2007). In addition,



    36 14 TTABVUE 8 at ¶¶ 24-25

    37 29 TTABVUE at 15.




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    because the identifications contain no limitations as to price points, we must presume

    that the parties’ goods encompass relatively inexpensive goods, which would be the

    subject of impulse purchases. See Hard Rock Café Int’l (USA) Inc. v. Elsea, 56

    USPQ2d 1504, 1513 (TTAB 2000) (t-shirts are impulse purchases); see also Recot Inc.

    v. M.C. Becton, 214 F.3d 1322, 54 USPQ2d 1894, 1899 (Fed. Cir. 2000) (“When

    products are relatively low-priced and subject to impulse buying, the risk of likelihood

    of confusion is increased because purchasers of such products are held to a lesser

    standard of purchasing care.”); In re i.am.symbolic, 116 USPQ2d 1406, 1413 (TTAB

    2015); Jansen Enters. Inc. v. Rind, 85 USPQ2d 1104, 1108 (TTAB 2007).

       In view of the foregoing, the Dupont factors regarding the overlapping channels of

    trade and classes of purchasers weigh in favor of finding a likelihood of confusion. In

    addition, because the goods overlap, the degree of similarity between the marks

    necessary to find a likelihood of confusion is reduced. In re Viterra Inc., 671 F.3d 1358,

    101 USPQ2d 1905, 1908 (Fed.Cir. 2012); In re Mighty Leaf Tea, 601 F.3d 1342, 94

    USPQ2d 1257, 1260 (Fed. Cir. 2010); In re Max Cap., 93 USPQ2d at 1248.

          B. Strength of Opposer’s Mark

       Before addressing the similarity or dissimilarity of the marks, we consider the

    strength of Opposer’s mark, to ascertain the scope of protection to which it is entitled.

    “A mark’s strength is measured both by its conceptual strength … and its

    marketplace strength ….” In re Chippendales USA, Inc., 622 F.3d 1346, 96 USPQ2d

    1681, 1686 (Fed. Cir. 2010); Top Tobacco, L.P. v. N. Atl. Operating Co., 101 USPQ2d

    1163, 1171-72 (TTAB 2011) (the strength of a mark is determined by assessing its



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    inherent strength and its commercial strength); Tea Bd. of India v. Republic of Tea

    Inc., 80 USPQ2d 1881, 1899 (TTAB 2006). Evidence of third-party use and

    registration may bear on the strength of a mark. See Juice Generation, Inc. v. GS

    Enters. LLC, 794 F.3d 1334, 115 USPQ2d 1671, 1675 (Fed. Cir. 2015). Commercial

    strength or fame “may be measured indirectly by the volume of sales and advertising

    expenditures in connection with the goods or services sold under the mark,” and may

    be “supported by other indicia such as length of time of use of the mark; widespread

    critical assessments; notice by independent sources of the goods or services identified

    by the marks; and the general reputation of the goods or services.” New Era Cap Co.

    v. Pro Era, LLC, 2020 USPQ2d 10596, at *10-11 (TTAB 2020).

          1. Conceptual Strength

       Turning first to conceptual strength, conceptual strength is a measure of a mark’s

    distinctiveness. In re Chippendales, 96 USPQ2d at 1686. Distinctiveness is “often

    classified in categories of generally increasing distinctiveness[:] ... (1) generic; (2)

    descriptive; (3) suggestive; (4) arbitrary; or (5) fanciful.” Two Pesos, Inc. v. Taco

    Cabana, Inc., 505 U.S. 763, 768, 112 S. Ct. 2753 (1992). “[T]hird-party registration

    evidence that does not equate to proof of third-party use may bear on conceptual

    weakness if a term is commonly registered for similar goods or services.” Tao

    Licensing, LLC v. Bender Consulting Ltd., 125 USPQ2d 1043, 1075 (TTAB 2017)

    (“third-party registration evidence that does not equate to proof of third-party use

    may bear on conceptual weakness if a term is commonly registered for similar goods

    or services”) (citation omitted); In re Morinaga Nyugyo Kabushiki Kaisha, 120




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    USPQ2d 1738, 1745-46 (TTAB 2016) (“Third-party registrations used in this manner

    are not evidence that customers are accustomed to seeing the use of other, similar,

    marks in the marketplace, but rather evidence that a term is suggestive or descriptive

    of the relevant goods or services. Such terms may be conceptually weak because the

    more descriptive a term is, the less likely prospective purchasers are to attach source-

    identifying significance to it.”). Evidence of third-party use of similar marks for

    similar services “can show that customers have been educated to distinguish between

    different marks on the basis of minute distinctions.” Jack Wolfskin Ausrustung Fur

    Draussen GmbH & Co. KGAA v. New Millennium Sports, S.L.U., 797 F.3d 1363, 116

    USPQ2d 1129, 1136 (Fed. Cir. 2015) (citation omitted).

       In assessing the impact of third-party use or registrations, we look to whether the

    third-party marks and goods or services are similar to the mark and goods or services

    of the opposer’s pleaded registration. If not, they can be discounted. See, e.g., Specialty

    Brands, Inc. v. Coffee Bean Distribs., Inc., 748 F.2d 669, 223 USPQ 1281, 1284-85

    (Fed. Cir. 1984) (discounting third-party evidence, noting: “None of these marks has

    a ‘SPICE (place)’ format or conveys a commercial impression similar to that projected

    by the SPICE ISLANDS mark, and these third-party registrations are of significantly

    greater difference from SPICE VALLEY and SPICE ISLANDS than either of these

    two marks from each other.”); Palisades Pageants, Inc. v. Miss Am. Pageant, 442 F.2d

    1385, 169 USPQ 790, 793 (CCPA 1971) (discounting third-party evidence, noting: “we

    are of the opinion that appellant’s mark is closer to appellee’s than even the closest

    of the third-party registrations in that it bodily incorporates appellee’s mark, merely




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    adding an adjective to the beginning thereof which, as the board observed, ‘directs

    attention to the words which follow.’”).

        Applicant argues that the “conceptual strength of Opposer’s mark is not one that

    affords a high degree of protection. The design itself is a basic design …. There are no

    artistic details to the bird outside of the basic outline of the body of a seagull, nor is

    there a wide variety of color. … Even the marks that do not claim color do not have

    the detailing of a bird, focusing instead on the silhouette of a bird.”38 Applicant

    further argues that even though Opposer’s mark is “widely known, … that does not

    grant Opposer a monopoly on all bird designs … a mark that is very different from

    Opposer’s mark would be easy to recognize as not connected with Opposer’s mark.”39

    In support of these arguments, Applicant does not introduce any evidence of third-

    party marketplace uses; it relies on its Manager Member, Mr. Gubbala, who testifies

    that “[w]hile no formal search was conducted, it is clear that birds are a popular

    choice for various logos … Since the beginning of this opposition I have come to learn

    that there are over 500 live bird marks currently with the USPTO.”40 Mr. Gubbala

    appended as an exhibit what appears to be a trademark search result for marks that

    comprise or include a bird design in Class 25 in the form of a chart.41


    38 29 TTABVUE 17.

    39 Id.

    40 19 TTABVUE 5 at ¶ 8.

    41 Id. at 32-534. The chart lists the marks, purported status of the application or registration,

    owner names and the goods or services.
    While an applicant may try to show that a registered mark is weak (and that the applicant’s
    mark is different enough to be unlikely to cause confusion), such proofs have a statutory limit.
    All marks registered on the Principal Register are presumed valid and distinctive, see 15
    U.S.C. § 1057(b), and even if they are weak, they are still afforded protecting from confusingly


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       There is no testimony regarding the source of the search nor is there any

    indication which database was used to conduct the search. As indicated above, the

    Board previously addressed the nature of this exhibit in connection with a motion to

    strike. And as noted in the Board’s December 2, 2012 order, the “exact identity of the

    document is unclear from the testimony” but likely is “a search report provided in a

    chart format which lists registrations and applications … seemingly generated or

    provided by a third party” and that “[a]ny third-party registrations or applications

    listed thereon are not of record. The Board can give the registrations no substantive

    consideration and they are not proof of any matters asserted therein.”42

       It is well established that third-party registrations may not be made of record by

    such a listing.43 Carl Karcher Enters. Inc. v. Stars Restaurants Corp., 35 USPQ2d

    1125, 1130 (TTAB 1995); see also In re Dos Padres Inc., 49 USPQ2d 1860, 1861 n.2




    similar marks. See, e.g., Conde Nast Publ’ns, Inc. v. Miss Quality, Inc., 507 F.2d 1404, 184
    USPQ 422, 424 (CCPA 1975) (“Although this court has often referred to the ‘scope of
    protection,’ ‘degree of protection,’ and ‘latitude of protection’ to be accorded marks—‘limited’
    in the case of ‘weak’ marks and ‘broad’ or ‘wide’ in the case of ‘strong’ marks, it has,
    nevertheless, made it clear that the decisive question is whether there is a likelihood of
    confusion, mistake, or deception for purposes of 15 U.S.C. § 1052(d). Therefore, if there is
    such likelihood, that ends the matter whether appellant’s mark be termed ‘weak’ or ‘strong.’)
    (citation omitted).
    42 24 TTABVUE 10-12.

    43 Even if a third-party federal registration has been properly made of record, its probative

    value is limited, particularly when the issue to be determined is likelihood of confusion, and
    there is no evidence of actual use of the mark shown in the registration. See AMF Inc. v.
    American Leisure Prods., Inc., 474 F.2d 1403, 177 USPQ 268, 269 (CCPA 1973) (not evidence
    of what happens in the market place or consumer familiarity); Weider Publ’ns, LLC v. D&D
    Beauty Care Co., 109 USPQ2d 1347, 1351 n.10 (TTAB 2014) (third-party registrations do not
    constitute evidence of use, thus of limited probative value to show mark is weak); Nat’l
    Football League v. Jasper Alliance Corp., 16 USPQ2d 1212, 1215 n.3 (TTAB 1990) (“It is well
    settled that a search report does not constitute evidence of the existence of a registration or
    use of a mark”) (citing In re Hub Distrib., Inc., 218 USPQ 284 (TTAB 1983)).


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    (TTAB 1998) (search reports are not “credible evidence of the existence of the

    applications and/or registrations listed in such reports”); In re Smith and Mehaffey,

    31 USPQ2d at 1532 n.3 (“[T]he Board will not consider copies of a search report or

    information taken from a private company’s data base as credible evidence of the

    existence of the registrations listed therein.”) (citing In re Hub Distrib., 218 USPQ

    284); Weyerhaeuser Co. v. Katz, 24 USPQ2d 1230, 1231-32 (TTAB 1992) (trademark

    search reports from private companies are neither printed publications nor official

    records). Moreover, “[i]t is well settled that the Board does not take judicial notice of

    USPTO records.” UMG Recordings Inc. v. O’Rourke, 92 USPQ2d 1042, 1046 (TTAB

    2009); Beech Aircraft Corp. v. Lightning Aircraft Co., 1 USPQ2d 1290, 1293 (TTAB

    1986) (Board refused to take judicial notice of petitioner’s pleaded and rejected,

    application for purposes of establishing petitioner standing).

       Keeping in mind the limitations noted above, we also find that over 350 marks in

    the search report are for different birds, are in different postures or contain additional

    matter and not simply a bird design and hence convey a commercial impression

    dissimilar to that projected by Opposer’s mark. These differences render them

    dissimilar, and hence irrelevant, to the registered mark. See Sabhnani v. Mirage

    Brands, LLC, 2021 USPQ2d 1241, at *25 (TTAB 2021) (“[W]hile the registered marks

    all contain the word ‘MIRAGE,’ they contain additional elements that cause many of

    them to be less similar to Petitioner’s mark than Respondent’s marks are.”).

       Notwithstanding, given the number of third-party marks which include a bird

    design, we can conclude that a bird design, in general, is not unique for clothing items,




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    but there is no evidence of the use of, and little evidence of the registration of, a design

    similar to the design forming Opposer’s mark.44 Cf., Jack Wolfskin, 116 USPQ2d at

    1136 (“extensive” evidence not only of third-party registrations with paw prints but

    also “of these marks with paw prints being used in internet commerce” for the

    relevant goods); Juice Generation, 115 USPQ2d 1671 (uncontradicted testimony of “a

    considerable number” of third party uses of similar marks, along with third-party

    registrations).

           2. Commercial Strength

       As for commercial strength, the record in this case amply demonstrates that

    Opposer’s bird design is commercially strong. Strength “may be measured indirectly,

    among other things, by the volume of sales and advertising expenditures of the goods

    traveling under the mark, and by the length of time those indicia of commercial

    awareness have been evident.” Bose Corp. v. QSC Audio Prods. Inc., 293 F.3d 1367,

    63 USPQ2d 1303, 1305 (Fed. Cir. 2002). Other relevant factors include “length of use

    of the mark, market share, brand awareness, licensing activities, and variety of goods

    bearing the mark.” Coach Servs. Inc. v. Triumph Learning LLC, 668 F.3d 1356, 101

    USPQ2d 1713, 1720 (Fed. Cir. 2012).

       Opposer’s efforts to promote its products bearing the bird design have been

    substantial (the exact numbers, dollar amounts and expenditures have been




    44 Even assuming some degree of conceptual weakness in a bird design, as discussed, this is

    not dispositive, as “likelihood of confusion is to be avoided, as much between ‘weak’ marks as
    between ‘strong’ marks.” King Candy Co. v. Eunice King’s Kitchen, Inc., 496 F.2d 1400, 182
    USPQ 108, 109 (CCPA 1974).


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    designated confidential and are not disclosed). Opposer points to these efforts,

    providing examples of each, including:

            •   between 2005 to 2021, volume of sales and dollar amounts sold for
                “products” bearing Opposer’s bird mark which are substantial with annual
                sales remaining steady;45

            •   between 2005 to 2020, annual visitors for Opposer’s website
                www.holisterco.com, mobile app and email subscribers which Opposer
                asserts “displays and offers for sale apparel bearing” its bird mark and
                have, on average, risen each year;46

            •   social media accounts on “Facebook, Instagram, and Twitter” that in 2022
                include “12 million ‘likes’ from Facebook users, 5 million followers on
                Instagram and 665,000 followers on Twitter;47 and

            •   limited YouTube series including “This is Summer” which as of March 2022
                had 24 episodes having an average of 600,000 views, “The Carpe Life” which
                as of “March 2022, videos for the 11 part series … had on average received
                more than one million (1,000,000+) views,” and “The Carpe Challenge”
                which as of “March 2021, videos for the 12 episode series … had on average
                received more than two hundred thousand (200,000+) views, with many
                videos exceeding one million to two million … views.”48

        Opposer also submits testimony and evidence of its promotion of its bird mark

    through “partnerships with various organizations that work with high school

    students … reaching millions of students and educators.”49 Additionally, there is

    evidence of unsolicited media coverage which includes display or mention of

    Opposer’s bird mark such as articles on Business Insider and Yahoo Finance.50



    45 16 TTABVUE at 3, 5 at ¶¶ 6, 9.

    46 Id. at 6-7 at ¶¶ 10-11, 14

    47 Id. at 8 at ¶ 17.

    48 Id. at 8-9 at ¶ 18-20.

    49 27 TTABVUE 35; 16 TTABVUE 9-10 at ¶ 22, 227-61.

    50 Id.; 15 TTABVUE 11-12 at ¶¶ 37-41, 157-81.




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       Opposer’s evidence establishes that Opposer’s pleaded bird mark is, at the very

    least, commercially strong entitling it to a broad scope of protection against

    confusingly similar marks. Jos. Phelps Vineyards, LLC v. Fairmont Holdings, LLC,

    857 F.3d 1323, 122 USPQ2d 1733, 1734 (Fed. Cir. 2017); Century 21 Real Estate Corp.

    v. Century Life of Am., 970 F.2d 874, 23 USPQ2d 1698, 1701 (Fed. Cir. 1992). Indeed,

    Applicant asserts in its brief that Opposer’s evidence “supports a finding of significant

    renown attributable to Opposer’s pleaded marks.”51

       Considering both conceptual and commercial strength, we find Opposer’s mark is

    overall a strong indicator of source.

          C. The Similarity or Dissimilarity of the Marks

       We now turn to the DuPont factor concerning the similarities or dissimilarities of

    marks, and which are typically compared for similarities and dissimilarities in

    appearance, sound, connotation and commercial impression. Palm Bay Imps., 73

    USPQ2d at 1692. “The proper test is not a side-by-side comparison of the marks, but

    instead whether the marks are sufficiently similar in terms of their commercial

    impression such that persons who encounter the marks would be likely to assume a

    connection between the parties.” Coach, 101 USPQ2d at 1721 (quotation omitted).

    Our focus is on the recollection of the average purchaser, who normally retains a

    general rather than a specific impression of trademarks. See Inter IKEA Sys. B.V. v.

    Akea, LLC, 110 USPQ2d 1734, 1740 (TTAB 2014) (citations omitted); Sealed Air




    51 29 TTABVUE 20.




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    Corp. v. Scott Paper Co., 190 USPQ 106, 108 (TTAB 1975); see also Franklin Mint

    Corp. v. Master Mfg. Co., 667 F.2d 1005, 212 USPQ 233, 234 (CCPA 1981) (“Those

    who comprise the purchasing public … ordinarily must depend upon their past

    recollection of marks to which they were previously exposed.”) (citation omitted).

       When the parties’ goods are identical or virtually identical, as we have in this case,

    the degree of similarity between the marks necessary to support a determination that

    confusion is likely declines. See Bridgestone Americas Tire Operations, LLC v. Fed.

    Corp., 673 F.3d 1330, 102 USPQ2d 1061, 1064 (Fed. Cir. 2012); In re Viterra, 101

    USPQ2d at 1908; In re Mighty Leaf Tea, 601 F.3d 1342 , 94 USPQ2d 1257, 1260 (Fed.

    Cir. 2010); Century 21 Real Estate. v. Century Life of Am., 23 USPQ2d 1698 at 1701;

    In re Max Cap., 93 USPQ2d at 1248.

       For convenience, we reproduce the parties’ respective marks below:




       Applicant argues that its mark “consists of specific design elements and coloring

    that are unique to the gannet bird. This is very intentional … Applicant is not trying

    to emulate Opposer’s seagull, nor would Opposer’s seagull mark be mistaken for a

    gannet. These are marks that have extreme differences.”52

       Applicant’s argument ignores that the parties’ marks both show a similar bird

    with two outstretched wings and in flight with pointed, closed beaks facing to the left.



    52 29 TTABVUE 13.




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    Indeed, Applicant stipulated that the parties’ marks both consist of “a bird with

    outspread wings viewed from the side with the bird’s head and beak facing to the left

    and the bird’s outspread wings shown above the bird’s body.”53Although Applicant’s

    bird has a fish in its beak, the fish is very small in comparison to the remainder of

    the bird design and despite Applicant’s arguments to the contrary,54 likely not readily

    discerned and remembered by the consumer.

       Looking at the parties’ marks in their entireties, the parties’ marks have a similar

    appearance and commercial impression of a bird in flight and the subtle differences

    (such as the wingtips) are not likely to be recalled by consumers at spaced intervals,

    given that the average purchaser normally retains a general rather than a specific

    impression of trademarks. See Dassler KG v. Roller Derby Skate Corp., 206 USPQ

    255, 259 (TTAB 1980) (recollections of design “usually hazy, and generally amount to

    nothing more than general, overall impressions”). While there are differences

    between the marks, they are insufficient to overcome the overall visual similarities

    and commercial impression, especially when the parties’ goods are in part, identical.

       This factor weighs in favor of finding a likelihood of confusion.




    53 14 TTABVUE 6 at ¶¶ 15-16.

    54 Applicant argues that the “fish in particular is of importance as it ties together this logo

    with the name of the company, Gannetfisher.” 29 TTABVUE 19. However, Applicant seeks
    to register the bird design without Gannetfisher or any words and does not describe its design
    as a gannetfish in the opposed application.


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              D. Variety of Goods and Services

        The ninth DuPont factor takes into account the variety of goods on which a mark

    is or is not used. DuPont, 177 USPQ at 567. If a party in the position of plaintiff uses

    its mark on a wide variety of goods, then purchasers are more likely to view a

    defendant’s related goods under a similar mark as an extension of the plaintiff’s line.

    See, e.g., In re Hitachi High-Techs. Corp., 109 USPQ2d 1769, 1774 (TTAB 2014)

        As we noted earlier in this opinion, Opposer’s product line currently extends to

    various items of clothing, footwear and retail clothing store services and its goods

    with the mark of the ’084 registration do not extend to other product areas. Opposer’s

    uses of its bird design marks as established by the record, are insufficient to persuade

    us that Opposer has used its marks on an extended variety of goods. Given the

    relatedness of the parties' identified goods, we find it unnecessary to rely on this

    factor.

        We therefore find the ninth DuPont factor to be neutral with respect to a finding

    of likelihood of confusion.

              E. Actual Confusion

       Applicant argues that there is no evidence of actual confusion and that although

    it has not yet begun to sell its identified goods, it “has been advertising their future

    products on their website and various social media platforms including Facebook and

    Instagram.”55




    55 29 TTABVUE 18.




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       The absence of instances of confusion is meaningful only if the record indicates

    appreciable and continuous use by the parties of their marks for a significant period

    of time in the same markets. Citigroup Inc. v. Capital City Bank Grp., Inc., 94

    USPQ2d 1645, 1660 (TTAB 2010), aff’d, 637 F.3d 1344, 98 USPQ2d 1253 (Fed. Cir.

    2011); New Era Cap Co., 2020 USPQ2d 10596, at *17; Gillette Canada Inc. v. Ranir

    Corp., 23 USPQ2d 1768, 1774 (TTAB 1992). There is no evidence regarding the length

    or frequency of Applicant’s advertising, or the consumer exposure of Applicant’s

    advertising. The mere fact that Applicant advertised is not persuasive since there is

    no way of our determining whether these activities have had any impact on

    purchasers. See In re Kwik Lok Corp., 217 USPQ 1245, 1248 (TTAB 1983). Moreover,

    advertising goods is not the same as use on goods. See also Clorox Co. v. Salazar, 108

    USPQ2d 1083, 1086 (TTAB 2013) (“The mere use of a trademark in the advertising or

    promotion of goods in the United States is insufficient to constitute use of the mark

    in commerce, within the meaning of the Trademark Act, where the advertising or

    promotion is unaccompanied by any actual sale or transport of the goods in

    commerce, as is the case here.”). And, as stipulated by Applicant, Applicant has not

    yet “started sales in USA.”56

       In sum, the lack of actual confusion is not probative as there has not been ample

    opportunity for confusion to occur. See e.g., KME Ger. GmbH v. Zhejiang Hailiang

    Co., 2023 WL 6366806, at *21 (TTAB 2023) (finding no reasonable opportunity for

    confusion   to   have   occurred   where   the   parties   have   used   their   marks


    56 14 TTABVUE 8 at ¶ 22.




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    contemporaneously for, at most, three years); Barbara’s Bakery Inc. v. Landesman,

    82 USPQ2d 1283, 1287 (TTAB 2007) (where the respective marks had coexisted in

    the marketplace for at least nine years, absence of actual confusion nonetheless

    deemed “of little probative value” because of the absence of a significant opportunity

    for such confusion to occur, given “the minimal scope of applicant’s actual use of her

    mark in the marketplace”).

       We find this DuPont factor neutral.

    V.    Conclusion

       We have carefully considered the evidence and arguments of record relevant to

    the pertinent DuPont factors. In sum, Opposer’s mark is a strong indicator of source

    and the goods, the channels of trade, the classes of consumers and conditions of sale

    all favor finding a likelihood of confusion.. The variety of goods offered by Opposer

    and actual confusion factors are neutral.

       In view thereof, we conclude that Applicant’s mark is likely to be confused with

    the mark of the ’084 registration.

       Because we have found that there is a likelihood of confusion, we need not reach

    Opposer’s dilution claim. See Azeka Bldg. Corp. v. Azeka, 122 USPQ2d 1477, 1478

    (TTAB 2017) (the Board has “discretion to decide only those claims necessary to enter

    judgment and dispose of the case”) (quoting Multisorb Tech., Inc. v. Pactive Corp., 109

    USPQ2d 1170, 1171 (TTAB 2013)).



       Decision: The opposition is sustained and registration to Applicant is refused.



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